      Case 2:23-cr-20121-JPM Document 133 Filed 03/29/24 Page 1 of 1               PageID 514


                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                       Western Division
                                      Office of the Clerk

Wendy R. Oliver, Clerk                                                               Deputy-in-Charge
242 Federal Building                                                        U.S. Courthouse, Room 262
167 N. Main Street                                                          111 South Highland Avenue
Memphis, Tennessee 38103                                                      Jackson, Tennessee 38301
(901) 495-1200                                                                          (731) 421-9200


                                     NOTICE OF SETTING
                   Before Judge Jon Phipps McCalla, United States District Judge



                                           March 29, 2024


            RE:    2:23-cr-20121-JPM
                   USA v. ASHLEY GRAYSON

            Dear Sir/Madam:

           A SENTENCING HEARING before Judge Jon Phipps McCalla has been set for
     FRIDAY, JULY 12, 2024 at 9:30 A.M. in Courtroom 7 on the 9th floor of the Odell Horton
     Federal Building, Memphis, Tennessee.

            The parties are instructed to have present any witnesses who will be needed for this
     hearing.

             As to defendants on bond, failure to appear without leave of court will result in a
     forfeiture of appearance bond and issuance of a warrant for arrest.

            If you have any questions, please contact the case manager at the telephone number or
     email address provided below.

                                        Sincerely,
                                        WENDY R. OLIVER, CLERK
                                        BY: s/Jeff Sample,
                                               Case Manager
                                               901-495-1243
                                               jeffrey_sample@tnwd.uscourts.gov
